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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

  STATE OF UTAH, et al.,

             Plaintiffs,

  V.                                                           2 :23-CY-016-Z

  MARTIN J. WALSH, SECRETARY OF
  LABOR, el al.,

             Defendants.

                                   MEMORANDUM OPINION
                                       AND ORDER

        Before the Court are parties' competing motions for summary judgment. Plaintiffs fi led

 their Motion fo r Summary Judgment ("Motion") (ECF No. 92), on May 16, 2023. Defendants filed

 their Cross-Motion for Summary Judgment ("Cross-Motion") (ECF No. 94), on June 2, 2023 .

 Having considered the motions, pleadings, and relevant law, the Court DENIES the Motion and

 GRANTS the Cross-Motion.

        BACKGROUND

        Plaintiffs are 26 States ("State Plaintiffs") and other interested parties ("Private Plaintiffs")

 suing the United States Department of Labor ("DOL" or the "Department") and the Secretary of

 Labor in his official capacity over the "2022 Investment Duties Rule" (the "Rule" or "2022 Ruic").

 The Rule clarifies the duties of fiduciaries to Employment Retirement Income Security Act of

 1974 ("ERISA") employee benefit pl ans concerning the selection of investments and investment

 courses of action. See 87 Fed. Reg. at 73885; 29 C.F.R. § 2550.404a- 1. Plaintiffs allege the Rule

 violates the Administrative Procedure Act ("APA") because it is arbitrary and capricious and runs

 afoul of ER ISA. ECF No. 92 at 4; 5 U.S.C. § 706(2)(A), (C).
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        BRISA was enacted in 1974 to protect " the interests of participants in employee benefit

 plans and their beneficiaries." 29 U.S.C . § l 00l(a). To those ends, ERIS/\ protects: (1 ) defined

 benefit plans (traditional pensions), and (2) defined contribution plans, or " individual account

 plans." Id. § l 002(34), (35). Plan sponsors -    typically an employer or a group of employers -

 arc responsible for choosing investment options offered to participants (employees) of individual

 account plans. See id. § 1002(1 6). And because these sponsors may manage the plans themselves

 or hire others to perfo rm various tasks, they (along with administrators, investment managers,

 trustees, and advisors) are fiduciaries under ERlSA. See id. § 1002(2 l )(A).

        Accordingly, Congress created requirements for "disclosure and reporting to participants

 and beneficiaries," established "standards of conduct, responsibi lity, and obligation for fiduciaries

 of employee benefit plans," and provided plan participants and beneficiaries with remedies for any

 violation of these requirements. Id. § 1001 (b). As such, ERISA requires a :fiduciary to "discharge

 his duties with respect to a plan solely in the interests of the participants and beneficiaries" and

 "for the exclusive purpose of providing benefits to participants and their beneficiaries." Id

 § 1104(a)(l). Fiduciaries are furth er obligated to act with "care, skill, prudence, and diligence," id.

 § 1104(a)(l )(B), because their duties to ERISA plan participants are "derived from the common

 law of trusts" and "the highest known to the law." Schweitzer v. Inv. Comm. of Phillips 66 Sav.

 Plan, 960 F.Jd 190, 194 (5 th Cir. 2020). And per the DOL, such duties include the management

 or shareholder rights, including voting rights. 87 Fed. Reg. at 73825.

         For nearly three decades, DOL has posited that ERISA's obligations do not forbid

 consideration of collateral or non-financial benefits in the selection of competing investments that

 serve the plan's economic interests equally. 87 Fed. Reg. at 73824. This so-called " tiebreaker"

 standard is only permitted where the selected investment (1 ) has "an expected rate of return at least



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 commensurate to rates of return of available alternative investments" with similar risks, and

 (2) otherwise comports with factors like "diversification" and "the investment policy of the plan."

 Id Li kewise, DOL has recognized that "environmental, social, and governance issues" ("ESG")

 may present purely financial considerations if they "arc not merely collateral considerations or tie-

 breakers" but instead are "proper components of the fiduciary's primary analysis of the economic

 merits." 80 Ped. Reg. at 65136 (Oct. 26, 2015).

        In 2020, DOL issued the "2020 Investment Duties Rule" or "2020 Rule." 85 Fed. Reg.

 72846. That rule stated the tiebreaker is available only where fiduc iaries arc "unable to distinguish"

 investments "on the basis of pecuniary factors alone" and imposed documentation requirements

 on its use. Id. at 72884. But DOL then found "substantial evidence submitted by public

 commenters" that the "tone" of the 2020 Rule created "confusion" among investors about whether

 "ESG factors may be treated as 'pecuniary' facto rs." 87 Fed. Reg. at 73856; 73825. Thus, in

 stakeholders' eyes, this created a "chilling effect" on the "appropriate integration of climate change

 and other ESG factors in investment decisions," id, and placed "a thumb on the scale against the

 consideration of ESG factors, even when those factors are financially material." Id. at 73826.

         To remedy those concerns, the 2022 Rule first removed the "pecuniary/non-pecuniary"

 nomenclature and replaced it with the instruction that fiduciaries' investment decisions "must be

 based on factors that the fiduciary reasonably determines are relevant to a risk and return analysis."

 Td. at 73885. Second, the Rule again clarified that risk and return factors "may include" ESG

 factors depending on individual facts and circumstances. Id. Third, the Ruic restated the tiebreaker

 test to permit considerations of collateral benefits where competing investments "equally serve the

 financial interests of the plan over the appropriate time horizon." Td. Fourth, the Rule eliminated

 the 2020 Rule's specific documentation requirement, which commenters feared would chill



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 liduciaries from utilizing the tiebreaker test. Id. at 73838. fifth, the Rule removed special

 requirements concerning the selection of qualified designated investment alternatives. Id. at 73842.

 And sixth, the Rule adopted proposals to eliminate regulatory language indicating that the exercise

 of fiduciary duties "does not requ ire the voting of every proxy or the exercise of every shareholder

 right," and to eliminate monitoring and recordkeeping requirements related to proxy voting or

 other exercises of shareholder rights. Id. at 73 843-46.

        Plaintiffs fi led this case on January 26, 2023, and then filed a motion for a preliminary

 injunction on February 24, 2023. ECF Nos. 1, 39. Private Plaintiffs allege they will be "forced to

 expend additional time and resources monitoring and reviewing recommendations from the plan's

 investment advisors, without the benefit of recordkeeping requirements or strict regulations, to

 assure the advisors are focusing only on pecuniary considerations and not collateral ESG factors,"

 ECF No. 39 at 2 1, and that oil and gas companies "will likely be further harmed by decreased

 interest from investment capital." Id. at 22. Likewise, State Plaintiffs allege they "suffer a

 proprietary injury in the form of dim.inished tax revenues" in addition to parens patriae standing

 "because the Rule will harm the economic well-being of their residents." Id. at 26.

        After conferring on Plaintiffs' intent to move under Rule 65(a)(2) to "consolidate trial on

 the merits" with the preliminary injunction bearing, parties "agreed that the only additional

 in formation needed in this case is the administrative record and supplemental briefing." ECF No.

 89 at 2. The Court then entered a scheduling order consistent with that agreement. ECF No. 97.

 Accordingly, the case is now ripe for summary judgment.

         LEGAL STAN DARO

         "Under the APA, it is the ro le of the agency to resolve factual issues to arrive at a decision

 that is supported by the administrative record." Hi-Tech Pharmacal Co., Inc. v. FDA, 587 F. Supp.



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 2d 13, 18 (D.D.C. 2008). "[Tlhc district judge," in turn, "sits as an appellate tribunal," because

 " [t)he function of the district court is to determine whether or not as a matter of law the evidence

 in the administrative record permitted the agency to make the decision it did." Am. Bioscience,

 Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001); City & Cnty. ofS.F. v. United States, 130

 F.3d 873, 877 (9th Cir. 1997).

          " [T]hc entire case on review is a question of law, and only a question of law." Pol '.Y &

 Rsch., LLC v. HHS, 313 F. Supp. 3d 62, 74 (O.D.C. 2018). And "summary judgment is the proper

 mechanism for deciding, as a matter of law, whether an agency action is supported by the

 administrative record and consistent with the APA standard of review." Lannett Co., Inc. v. FDA,

 300 F. Supp. 3d 34, 41 (D.D.C. 2017). Hence, summary judgment shall be granted "if the movant

 shows that there is no genuine dispute as to any material fact and the movant is entitled to judgment

 as a matter of law." FED. R. C1v . P. 56(a). Lastly, "[o)n cross-motions for summary judgment, [the

 Court] rcview[s] each party's motion independently, viewing the evidence and inferences in the

 light most favorab le to the nonmoving party." Texas v. Rettig, 987 F.3d 518, 526 (5th Cir. 202 1). 1

          ANALYSIS


          A. The Rule Docs Not Violate ERISA

          ERISA provides that a fiduciary must discharge his duties concerning a plan "solely in the

 interest of the participants and beneficiaries" and "for the exclusive purpose of" providing

 "benefits" to them. 29 U.S.C. § l l 04(a)(l). The term ' benefits" in the provision "must be


 1
   In the preliminary injunction briefing, DOL contested whether State Plaintiffs have standing but did not contest the
 standing of Private Plaintiffs. The Court agrees that State Plai ntiffs likely do not have standing. See La. State v. NOAA,
 No. 22-30799, 2023 WL 4014179, at *6 (5th Cir. June 15, 2023) (complaint allegations arc insufficient at summary
 judgment because pleadings are not summary judgment evidence); id. at ""'7 n.5 ("Additionally, it is dubious that
 Louisia11a may maintain its parens patriae suit against the federa l government at all."); cf Texas v. United States, 809
 F.3d I34, I57 (5th Cir. 20 15) (state standing based on "a loss of specific tax revenues" involves "undisputed" direct
 injuries to the state). But because "only one needs standing for the action to proceed," the Court will not discuss the
 standi ng issues at length. Gen. Land Off. v. 13/den, No. 22-40526, 2023 WL 4044448, at *3 (5th Cir. June 16, 2023).


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 understood to refer to the sort offinancial benefits (such as retirement income) that trustees who

 manage investments typically seek to secure for the trust's beneficiaries." Fifth Third Bancorp v.

 Dudenhoeffer, 573 U.S. 409, 420- 21 (20 14).

         The question of whether the Rule violates ERISA invokes the analytical framework

 outlined in Chevron USA Inc. v. Nat. Res. Def Council, Inc., 467 U.S. 837 ( 1984). 2

 That framework "proceeds in two steps." Mexican Gulf Fishing, 60 F.4th at 963. At step one,

 courts ask "whether Congress has directly spoken to the precise question at issue," in which case

 courts "must give effect to the unambiguously expressed intent of Congress and reverse an

 agency's interpretation that fails to conform to the statutory text." id. But if the statute is

 ambiguous, eolllts reach step two, and may not disturb an agency rule unless it is "arbitrary or

 capricious in substance, or manifestly contrary to the statute." Mayo Found. for Med. Educ. &

 Rsch. v. United States, 562 U.S. 44, 53 (20 11). Thus, "ft]he fact that the agency has from time to

 time changed its interpretation" does not mean that " no deference should be accorded the agency's

 interpretation of the statute." Chevron, 467 U.S. at 863.

         Here, Plaintiffs argue DOL loses at either step because "the plain text of ERIS A forecloses

 consideration of non-pecuniary factors, including for tiebreakers." ECF No. 85 at 14. But that is

 not so. Because ERISA docs not contemplate the possibility of a "tie" between two financially

 equivalent investment options, Congress has not "directly spoken to the precise question at issue."

 Mexican Gulf Fishing, 60 F.4th at 963.

         DOL also wins at step two. That is because the reasonableness of DOL' s interpretation is

 supported by its prior rulemakings -          including the 2020 Rule which Plaintiffs approvingly hold



 2 Plaintiffs aver that Chevron "should be limited or overruled." ECF No. 85 at 15. Plaintiffs' objections to Chevron

 are well taken. But the Court will apply Chevron in appropriate circumstances "until and unless it is overruled by our
 highest Court." Mexican Gu(/ Fishing Co. v. U.S. Dep 'I of Com., 60 F.4th 956, 963 n.3 (5th Cir. 2023).

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out as " ret1ect[ing] ERTSA's focus onjznancial benefits." ECF No. 39 at 11. Indeed, since at least

20 15, DOL has posited that ESG factors "may have a direct relationship to the economic value of

 the plan's investment." 80 Fed. Reg. at 65 136. And likewise, the 2020 Rule stated that fai ling to

 consider ESG-rclated risk-return factors could constitute a violation of the duty of prudence in

 some circurnstances: "For example, a company's improper disposal of hazardous waste would

 likely implicate business risks and opportunities, litigation exposure, and regulatory obligations."

 85 Fed. Reg. at 72848. 3 nut in any event, Plaintiffs concede that ESG factors can be considered

 for risk-return purposes in appropriate circumstances. See ECF No. 39 at 32 (ESG arc permissible

 factors "when the fiduciary reasonably concludes the factor will benefit the beneficiary directly by

 improving risk-adjusted return of a particular investment" and "the fiduciary 's exclusive motive is

 to obtain this direct beneftt").

             The 2022 Rule changes little in substance from the 2020 Rule and other rulemakings. 4

 Where the 2020 Rule explained that collateral factors may be considered when a fiduciary is

 "unable to distinguish" between two investment options based on financial factors alone, the 2022

 Rule allows the same when the two options "equally serve the financial interests of the plan."

 87 Fed. Reg. at 73836- 38. And while Plaintiffs aver that the 2022 changes loosen restrictions on

 fiduciaries, there is little meaningful daylight between "equally serve" and " unable to distinguish."

             The Rule also explains that fiduciaries remain free "to determine that an ESG-focused

 investment is not in fact prudent," 87 Fed. Reg. at 7383 1, and stresses that a "fiduciary's


 3 Additionally, DOL stated in 2008 that fiduciaries may "rely on factors outside the economic interests of the plan in

 making investment choices," although they "will rarely be able to demonstrate compliance with ER.ISA absent a
 written record demonstrating that a contemporaneous economic analysis showed that the investment alternatives were
 or equal value." 73 Fed. Reg. at 61735- 36. For these reasons, the "history and the breadth of the authority that [the
 agency) has asserted'' does not provide a "reason to hesitate before concluding that Congress" meant to confer such
 authority. W. Va. v. EPA , S. Ct. 2587, 2608 (2022) (d iscussing the "major questions" doctrine).
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 '    Scholars have noted "the substantive requirements of the two rules arc the same" and that the changes from the 2020
     Rule are merely "cosmetic." ECF No. 88 at 16.

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 determination with respect to an investment ... must be based on factors that the fiduciary

 reasonably determines arc relevant to a risk and return analysis," id. § 2550.404a-l (b)(4). 5

 Hence, "lr)isk and return factors may include [ESG] factors on the particular investment," but

 "[w]hether any particular consideration is a risk-return factor depends on the individual facts and

 circumstances." Id. J\nd even where collateral benefits are considered as a tiebreaker, a fiduciary

 may not "accept expected reduced returns or greater risks to secure such additional benefits." Id.

 § 2550.404a-l(c)(2).

         Add itionally, the Rule's statement that risk-return factors "may include" ESG factors

 differs from the "may often require" language of the proposed rule. 87 Fed. Reg. at 73830.

 As DOL clarified, the proposed language "was not intended to create an effective or de facto

 regulatory mandate" or "an overarching regulatory bias in favor of ESG strategics." Id. To the

 contrary, the Rule "makes unambiguous that it is not establishing a mandate that ESG factors arc

 relevant under every circumstance, nor is it creating an incentive for a fiduciary to put a thumb on

 the scale in favor of ESG factors." Id. at 73 83 1.

         The Rule seeks to achieve "appropriate regulatory neutrality and ensures that plan

 fiduciaries do not misinterpret" the Rule "as a mandate to consider the economic effects of climate

 change and other ESG factors under all circumstances." Id. And "nothing about the principles-

 based approach should be construed as overturning long established ERISA doctrine or displacing

 relevant common law prudent investor standards." Id. This includes Dudenhoeffer's holding that



 5 See also 29 C.F.R. § 2550.404a- l(c)(l) ("A fiduciary may not subordinate the interests of participants ... to other
 objectives, and may not sacrifice investment return or take on additional investment risk to promote benefits or goals
 unrelated to interests of the participants"); id. § 2550.404a- I(b)( I)(i) (Fiduciaries must give "appropriate
 consideration" to facts they know or should know "arc relevant to the particular investment or investment course of
 action involved."). The phrase "appropriate consideration" includes "a determination by the fid11cia1y that the
 particular investment ... is reasonably designed ... to further the purposes of the plan, taking into consideration the
 risk of loss and the opportunity for gain ... compared to the opportunity for gain (or other return) associated wi th
 reasonably available altern atives with similar risks." Id. § 2550.404a-1 (b)(2)(i).

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 fiduciaries must act "for the exclusive purpose" of "providing benefits to participants and their

 beneficiaries" and that the term "benefits" "must be understood to refer to .. . financial benefits."

 573 U.S. at 421.

        To summarize, an ESG factor could be worth consideration even under prior rules if it " is

 expected to have a material effect on the risk and/or return of an investment." 85 Fed. Reg. at

 72884. Similarly, the 2022 Ruic states that risk and return factors may include ESG factors under

 some circumstances, but those factors must still reflect "a reasonable assessment of its impact on

 risk-return." 29 C.F.R. § 2550.404a-l (b)(4). Tn other words, the 2022 Rule "provides that where a

 fiduciary reasonably determines that an investment strategy wi ll maximize risk-adjusted returns, a

 fiduciary may pursue the strategy, whether pro-ESG, anti-ESG, or entirely unrelated to ESG."

 ECF No. 88 at 13- 14. And like prior rules, the 2022 Rule allows consideration of collateral factors

 to break a tie. Thus, after affording DOL the deference it is presently due under Chevron, the Court

 cannot conclude that the Rule is "manifestly contrary to the statute." Mayo Pound., 562 U.S. at 53.

        B. The Rule Is Not Arbitrary and Capricious

        Under the APA, courts must "hold unlawful and set aside" agency action, findings, and

 conclusions found to be "arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law." 5 U.S.C. § 706(2)(A). "The scope of review under the arbitrary and

 capricious standard is narrow and a court is not to substitute its judgment for that of the agency."

 Motor Vehicle Mfrs. Ass 'n of US. , Inc. v. State Farm Mui. Auto. Ins. Co. , 463 U.S. 29, 43 (1983).

 Instead, courts should recognize that agencies "have expertise and experience in administering

 their statutes that no court can properly ignore," Judulang v. Holder, 565 U.S. 42, 53 (20 11 ), and

 must not "impose upon agencies specific procedural requirements that have no basis in the AP A,"

 Pension Ben. Guar. Corp. v. LTV Corp., 496 U.S. 633, 654 ( 1990). That said, the agency must



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 nevertheless "examine the relevant data and articulate a satisfactory explanation for its action

 including a rational connection between the facts found and the choice made." State Parm, 463

 U.S. at 43; see also Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1013 (5th Cir. 2019) Qud icial

 review of agency action "is not toothless").

         While an agency need not "address every comment," it must "respond in a reasoned

 manner to those that raise significant problems." Reytblatt v. U.S. Nuclear Regul. Comm 'n, 105

 F.3d 715, 722 (D.C. Cir. 1997). ln review, courts then "consider whether the decision was based

 on a consideration of the relevant factors and whether there has been a clear error of judgment."

 State Farm, 463 U.S. at 43. For these purposes, an agency's action is "arbitrary and capricious" if

 it "entirely failed to consider an important aspect of the problem, offered an explanation for its

 decision that runs counter to the evidence before the agency, or is so implausible that it could not

 be ascribed to a difference in view or the product of agency expertise." Id.

         Similarly, "an agency's decision to change course may be arbitrary and capricious if the

 agency ignores or countermands its earlier factual findings without reasoned explanation for doing

 so." F. C. C. v. Fox Television Stations, Inc. , 556 U.S. 502, 537 (2009). At the least, the agency

 must "display awareness that it is changing position," and "show that there are good reasons for

 the new policy." Id. at 515.

         Here, Plaintiffs argue: (1) the Rule does not rebut DOL 's prior finding that "strict"

 regulations are necessary; (2) the alleged need for the Rule is inadequate because DOL never

  identified "who specifically was confused," the "source of confusion," or that "any such confusion

 or negative perceptions rcduccdjinancial returns for participants and beneficiaries"; and (3) many

 of the Rule's provisions are "unreasonable, internally inconsistent, fail to consider relevant

  factors," and rely on factors "Congress has not intended it to consider." ECF No. 391 at 37-40.



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          These arguments all fail to establish an APA violation. To begin, DOL explained its

 position that the 2020 Rule had a chilling effect on fiducia ri es' consideration of pertinent

 information when making investment decisions. 87 Fed. Reg. at 73826. And DOL expressly

 replied to comments that argued the agency "did not articulate what confusion it had created." Id.

 at 73860. The Department identified specific comments speaking to that issue, cited literature from

 the Harvard Law School Forum on Corporate Governance and the United Nations Principles for

 Responsible Investment, id. , and considered eliminating the tiebreaker test before ultimately

 retaining it due to reliance interests, id. at 73878. 6

          Plaintiffs then take issue with the Rule' s authorization of fiduciaries considering

 "participants' preferences" - a "euphemism for considering nonpecuniary factors such as climate

 change and other ESG factors." ECF No. 39 at 41-42. But Plaintiffs again fail to distinguish the

 2022 Rule from the 2020 Rule. Indeed, nothing in the 2020 Ruic "prccludc(d] a fiduciary from

 looking into certain types of investment alternatives in light of participant demand for those types

 of investments." 85 Fed. Reg. at 72864. And likewise, the 2022 Rule merely states that participant

 preferences can be considered when they are "relevant to furthering the purposes of the plan" and

 "consistent with" a fiduciary 's investment duties. 87 Fed. Reg. at 73842. Further, the Rule clarifies

 that "fiduciaries may not add imprudent investment options to menus just because participants

 request or would prefer them." id.

          Next, Plaintiffs point out that the Rule deleted the proposed rule's prohibition on exercising

  proxy rights to "promote non-pecuniary benefits or goals unrelated to those financial interests of

  the plan participants and beneficiaries" -           a command "designed to promote ERISA's focu s on

  financial benefits." ECF No. 39 at 42. But the Rule's "removal of the clause at issue docs not


 6 See also JU. Reyno/di· Vapor Co. v. FDA , 65 F.4th 182, 189 (5th Cir. 2023) (agencies must consider "seri ous reliance

  interests" that its " longstanding policies may have engendered").

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 constitute a rejection of this principle." 87 Fed. Reg. at 73848. Rather, DOL concluded that other

 provisions in the Rule already require fiduciaries to act "solely in accordance with the economic

 interests of the plan" and that the clause therefore "serve[dl no independent function." Id. at 73847.

         The Department further agreed with commenters that " the clause is easily misconstrued"

 as imposing on fiduciaries duties "above and beyond" the duties contained in other paragraphs. Id.

 at 73848. Because DOL saw no reason to "impose such additional duties, with their attendant costs

 and potential for litigation" when other provisions "arc fully adequate to protect the interests of

 plan participants," it found that ERTSA's duty of prudence was sufficient in protecting plan

 beneficiaries. Id. Accordingly, the Department saw no need in imposing "additional bmdens" on

 the use of the tiebreaker test or creating "incentives that discourage, rather than promote, proper

 fiduciary activity." Id. at 73838.

         Similarly, Plaintiffs argue the Rule wrongly eliminated specific restrictions on qualified

 default investment alternatives ("QDIAs") to allow fiduciaries " to select funds that expressly

 prioritize nonpecuniary benefits." ECF No. 39 at 44. But DOL explained that "most comrnenters

 on this issue" considered the restrictions unnecessary. 87 Fed. Reg. at 73842.

         Commenters also expressed concern "that funds may be excluded from selection as QDJAs

 solely because they expressly considered climate change or other ESG factors, even though the

 funds are prudent based on a consideration of their financial attributes alone" or are "even best in

 class." Id at 73843. DOL agreed with these comments but noted that QDJAs would continue to

  be subj ect to " the prohibition against subordinating the interests of participants and beneficiaries

  in their retirement income to other objectives." Id.

         Plaintiffs then fix their attention on the proposed rule's disclosure requirement " that would

  apply whenever a fi duciary considered a collateral benefit in selecting an investment for a



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 participant-driven individual account plan" and assert the "2022 Rule eliminated this provision but

 remarkably does not clearly state why." .ECP No. 39 at 45. However, DOL did explain the "limited

 support" for this disclosure requ irement and the "substantial concerns" raised by the public. 87

 Fed. Reg. at 73839. Among these concerns were that the disclosure requirement: (1) is "inherently

 ambiguous"; (2) is unnecessary and requires disclosure of content "of no economic signi ftcance";

 (3) "disproportionately emphasizc[s] one part of the fiduciary decisionmaking process over other

 more relevant factors in a way that could mislead participants"; (4) is "contrary to the principle of

 neutrality" because it has "a chilling effect on the proper use of climate change and other ESG

 factors"; and (5) "would effectively act as an invitation to litigation." id. at 73839-41.

          Some commenters took issue with the "necessary consequence" that a disclosure violation

 "would constitute a per se breach of ERISA's duty of loyalty." Id. at 73841. Others pointed out

 various "technical issues with the proposed disclosure requirement." id. DOL responded that its

 decision was based on these concerns but also emphasized that "the decision against adopting a

 collateral benefit disclosure requirement in the final rule has no impact on a fiduciary 's duty to

 prudently document the tic breaking decisions in accordance with section 404 of ER.ISA." id. 7

          Additionally, Plaintiffs assert the Rule fails to consider the alternative of issuing sub-

 regulatory guidance instead of amending the regulation itself. But as an initial matter, an agency

 "need not consider every alternative proposed" -                 especially where the alternative was not a

 serious issue raised by commenters. JO Ring Precision, lnc. v. Jones, 722 P.3d 711 ,724 (5th Ci r.

 2013). And regardless, DOL explained the 2020 Rule was plagued with "contradictory statements"



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   Plaintiffs' Reply faults the Rule for not mentioning additional monitoring costs participants will incur to "ensure
 compliance with fidu ciary duties." ISCF No. 85 at 20. But " Plaintiffs provide no detail about what kind of monitoring
 they might undertake, how much it might cost, or how it differs from their normal activities." ECF No. 69 at 28; see
 also 29 C.F.R. § 2509.75-8 (performance of fiduciaries should be reviewed "at reasonable intervals" in such manner
 "as may be reasonably expected" to ensure compliance).

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 and "overly stringent language." ECF No. 69 at 45. Hence, the Department maintains that

 interpretive guidance "could not have cured the chilling effect" of the 2020 Rule and would "not

 have the force and effect or law." Id. at 46; Perez v. Mortg. Bankers Ass 'n, 575 U.S. 92, 97(2015).

        finally, Plaintiffs aver that the Rule is the product of "prejudgment" because it "does not

 meaningfully rebut the strong evidence that DOL had already decided what to do in this

 rulemaking before it reviewed the public comments." ECF No. 39 at 48. But the Supreme Court

 has held that an "open-mindedness" test violates the "general proposition that courts are not free

 to impose upon agencies specific procedural requirements that have no basis in the AP A." Little

 Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2385 (2020).

        For all these reasons, the Rule docs not violate the AP A. And while the Court is not

 unsympathetic to Plaintiffs' concerns over ESG investing trends, it need not condone ESG

 investing generally or ultimately agree with the Rule to reach this conclusion. Rather, "all that is

 necessary is a 'minimal level of analysis' from which the agency's reasoning may be discerned,"

 "regard less of whether the court fi nds the reasoning fully persuasive." Brackeen v. Haaland, 994

 F.Jd 249, 357- 58 (5th Cir. 2021), rev 'd in part on other grounds, No. 21-376, 2023 WL 400295 1

 (U.S. June 15, 2023). DOL has provided that here. Accordingly, the Department is entitled to

 summary judgment, and Plaintiff's Motion must be denied.

         CONCLUSION


        For the foregoing reasons, the Motion is DENIED and the Cross-Motion is GRANTED.

         SO ORDERED.

         September 1,,f, 2023


                                                       MAT IEW J. KACSMARYK
                                                       UNI ED STA TES DISTRICT JUDGE



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